               Case 3:18-cr-00392-CRB Document 72 Filed 12/30/19 Page 1 of 2




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11 Attorneys for United States of America

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13                                  UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15                                      SAN FRANCISCO DIVISION

16
     UNITED STATES OF AMERICA,                      )   CASE NO. CR. 18-00392 CRB
17                                                  )
             Plaintiff,                             )   DECLARATION OF ALEXANDRA SHEPARD
18                                                  )   IN SUPPORT OF THE UNITED STATES’
        v.                                          )   OPPOSITION TO DEFENDANT’S MOTION TO
19                                                  )   SUPPRESS PURSUANT TO FEDERAL RULE
     NICHOLAS BEYER,                                )   OF CRIMINAL PROCEDURE 12 AND THE
20                                                  )   FOURTH AMENDMENT
                                                    )
21           Defendant.                             )
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     SHEPARD DECL. ISO OF U.S.’ OPP. TO DEF.’S
     MOT. TO SUPPRESS
     CR 18-00392 CRB
              Case 3:18-cr-00392-CRB Document 72 Filed 12/30/19 Page 2 of 2




 1          I, Alexandra Shepard, declare and state as follows:

 2          1. I am a Special Assistant United States Attorney for the Northern District of California

 3             assigned to the prosecution of the above-captioned case.

 4          2. To be filed under seal and attached as Exhibit E is a true and correct copy of the United

 5             States’ Ex Parte Application for An Order Pursuant to 38 U.S.C. § 7332 and 28 U.S.C. §

 6             1651, dated July 12, 2018.

 7          3. To be filed under seal and attached as Exhibit F is a true and correct copy of an Order signed

 8             by the Hon. Maria-Elena James on July 12, 2018.

 9          I declare under penalty of perjury under the laws of the United States that the foregoing is true and

10 correct.

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12 Executed this 30th day of December, 2019, in San Francisco, California.

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15                                                                ALEXANDRA SHEPARD
                                                                  Special Assistant United States Attorney
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     SHEPARD DECL. ISO OF U.S.’ OPP. TO DEF.’S
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     CR 18-00392 CRB
